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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 1:22-cr-20007-KMM/Becerra

  UNITED STATES OF AMERICA,

  v.

  OMAR BURFORD,
  a/k/a “Lynden Barnes,”

        Defendant.
  _____________________________________/

                REPORT AND RECOMMENDATION ON CHANGE OF PLEA

         THIS CAUSE came before the Court following the District Court’s referral for a change

  of plea. ECF No. [36]. Based upon the Change of Plea hearing conducted on March 7, 2022, the

  undersigned makes the following findings, and recommends that the guilty plea be accepted.

         1.      This Court advised Omar Burford (“Defendant”) of the right to have these

  proceedings conducted by the District Judge assigned to the case, and that this Court was

  conducting the change of plea hearing pursuant to an Order of Reference from the District Court.

  This Court further advised Defendant that the District Judge assigned to this case would be the

  sentencing judge and would make all findings and rulings concerning Defendant’s sentence. This

  Court advised Defendant that he did not have to permit the undersigned United States Magistrate

  Judge to conduct this hearing and could request that the change of plea hearing be conducted by

  the District Judge assigned to the case. Defendant, Defendant’s attorney, and the Assistant United

  States Attorney all consented on the record to this Court conducting the change of plea hearing.

         2.      This Court conducted a plea colloquy in accordance with the outline set forth in the

  Bench Book for District Judges, and in accordance with Fed. R. Crim. P. 11.

         3.      Defendant pled guilty to Count 23 of the Indictment. Count 23 charges Defendant

  with illegal reentry of a removed alien, in violation of Title 8, United States Code, Section 1326(a)

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  and (b)(2). The Court advised Defendant that as to Count 23, there is a maximum of twenty years

  imprisonment, followed by a period of supervised release of up to three years, and a possible fine

  of up to $250,000.00. The Court also advised Defendant that there is a mandatory special

  assessment of $100.00.

         4.      To set forth the factual basis for the entry of the plea, Defendant and the

  Government submitted a written Factual Proffer.          The Factual Proffer, also read by the

  Government at the hearing, established all the essential elements of the crime to which Defendant

  is pleading guilty. Defendant acknowledged that the Factual Proffer was accurate.

         5.      There is a written plea agreement which has been entered into by the parties in this

  case. This Court reviewed that plea agreement on the record and Defendant acknowledged that he

  understood the terms of the plea agreement and that he had signed the plea agreement.

         6.      Defendant also waived his right to appeal his sentence unless the government files

  an appeal and/or his sentence exceeds the maximum permitted by statute and/or is the result of an

  upward departure or a variance from the guideline range that the Court establishes at sentencing.

  Defendant also waived his right to challenge the constitutionality of the statutes at issue and

  whether the conduct falls within the statutes. In addition, the undersigned finds that Defendant’s

  waiver of his right to appeal his sentence in this case is knowing and voluntary.

         7.      Based upon all of the foregoing and the plea colloquy conducted by this Court, the

  undersigned finds that Defendant is fully competent and capable of entering an informed plea, that

  Defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

  of guilty is a knowing and voluntary plea supported by an independent basis in fact containing

  each of the essential elements of the offense.

         8.      Therefore, the undersigned recommends that Defendant be found to have freely and

  voluntarily entered a guilty plea to Count 23 of the Indictment filed in this case, as more


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  particularly described herein, and that Defendant be adjudicated guilty of that offense.

         9.      Defendant is in custody and will remain in custody until sentencing.

         10.     The parties were also instructed to immediately notify the Chambers of District

  Judge K. Michael Moore if the sentencing in this matter is expected to exceed one-half hour.

         Accordingly, it is hereby RECOMMENDED that Defendant’s plea of guilty be accepted,

  that Defendant be adjudicated guilty of the offense to which he has entered his plea of guilty, and

  that a sentencing hearing be conducted for final disposition of this matter.

         Pursuant to Fed. R. Crim. P. 59(b), Eleventh Circuit Rule 3-1, and accompanying Internal

  Operating Procedure 3, the parties are hereby notified that failure to object in accordance with 28

  U.S.C. § 636(b)(1) waives the right to challenge on appeal the District Court’s order based on

  unobjected-to factual and legal conclusions. See Thomas v. Arn, 474 U.S. 140 (1985).

         DONE AND SUBMITTED in Chambers at Miami, Florida, on March 7, 2022.



                                                        _________________________
                                                        JACQUELINE BECERRA
                                                        United States Magistrate Judge




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